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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


                                     )
KARLENE JONES,                       )
                                     )
                 Plaintiff,          )
                                     ) Civil Action No. 12-304(EGS)
            v.                       )
                                     )
CORELOGIC SAFERENT, LLC,             )
                                     )
                 Defendant.          )
                                     )

                                   ORDER

        On February 28, 2012, defendant filed a Motion to Dismiss

plaintiff’s Complaint.      On April 11, 2012, the Court issued an

Order, pursuant to Fox v. Strickland, 837 F.2d 507 (D.C. Cir.

1988) and Neal v. Kelly, 963 F.2d 452 (D.C. Cir. 1992),

directing plaintiff to respond to defendant’s motion by May 11,

2012.    The Court informed plaintiff that if she did not respond,

the Court could treat the motion as conceded and dismiss the

case without prejudice.

     To date, plaintiff has not responded to the Motion to

Dismiss.    Accordingly, it is ORDERED that defendant’s Motion to

Dismiss is GRANTED and the case is hereby dismissed without

prejudice.


     SO ORDERED.

Signed:     Emmet G. Sullivan
            United States District Judge
            June 26, 2012
